         Case 3:19-cv-01732-RNC Document 8 Filed 11/13/19 Page 1 of 9




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT
_________________________________________
                                          :
EMILY BEHLING,                            :
                                          :
                  Plaintiff,              :
                                          :
            v.                            :   Case No.                3-19-cv-01732
                                          :
NATIONAL BOARD OF                         :
MEDICAL EXAMINERS,                        :
                                          :
                  Defendant.              :
_________________________________________ :


  [PLAINTIFF’S PROPOSED] ORDER GRANTING MOTION FOR ADMISSION OF
                ATTORNEY CHARLES WEINER PRO HAC VICE



Upon consideration of Plaintiff’s Motion for Admission Pro Hac Vice of Attorney Charles

Weiner, this ____________ day of __________________________ hereby

ORDERED that the Motion is GRANTED.



DATED: ________________                           ____________________________
                                                  United States District Judge
            Case 3:19-cv-01732-RNC Document 8 Filed 11/13/19 Page 2 of 9




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT
_________________________________________
                                          :
EMILY BEHLING,                            :
                                          :
                  Plaintiff,              :
                                          :
            v.                            :   Case No.                    3:19-cv-01732
                                          :
NATIONAL BOARD OF                         :
MEDICAL EXAMINERS,                        :
                                          :
                  Defendant.              :
_________________________________________ :



            MOTION FOR ADMISSION OF CHARLES WEINER PRO HAC VICE

       Pursuant to Local Rule 83.1(d), the undersigned counsel for Plaintiff, Emily Behling

hereby respectfully moves the Court to permit Charles Weiner, Esq. to be admitted to practice

pro hac vice, for all purposes, in this action. The Affidavit of Charles Weiner, Esq. (“Attorney

Weiner”) in support of this motion is attached hereto as Exhibit A.

       The attached affidavit of Attorney Weiner sets forth the following facts:

       1.      Attorney Weiner is a principal of the Law Office of Charles Weiner, Cambria

Corporate Center, 501 Cambria Avenue, Bensalem, Pennsylvania 19020. His telephone number

is (267) 685-6311, and his fax number is (215) 604-1507. His email address is

charles@charlesweinerlaw.com.

       2.      Attorney Weiner is a member in good standing of the Bar of the Commonwealth

of Pennsylvania, where he was admitted in 1988. His bar identification number for Pennsylvania

is 52926. Attorney Weiner is a member in good standing of the Bar of the State of New York,

where he was admitted in 2016. His bar identification number for New York is 5445275.
            Case 3:19-cv-01732-RNC Document 8 Filed 11/13/19 Page 3 of 9




Attorney Weiner is also a member of good standing of the Bar of the United States Court of

Appeals for the Third Circuit, where he was admitted in 2008; the United States Court of

Appeals for the Sixth Circuit, where he was admitted in 2019; the United States District Court

for the Eastern District of Pennsylvania, where he was admitted in 2005; and the United States

District Court for the Middle District of Pennsylvania, where he was admitted in 2016. Upon

admission, he will promptly file, or cause to be filed, with the Clerk of the Court a certificate of

good standing from the court of the state in which he has his primary office.

       3.      Attorney Weiner has no pending disciplinary complaints as to which a finding has

been made that such complaint should proceed to a hearing.

       4.      Attorney Weiner has not been denied admission to, been disciplined by, resigned

from, surrendered his license to practice before, or withdrawn an application for admission to

practice before this Court or any other court, while facing a disciplinary complaint.

       5.      Attorney Weiner has fully reviewed and is familiar with the Federal Rules of

Civil Procedure, the Local Rules of The United States District Court for the District of

Connecticut, and the Connecticut Rules of Professional Conduct.

       6.      Attorney Weiner designates the undersigned and his office, O’Brien Law, 202

West Center Street, Manchester, CT 06040, telephone number (860) 646-3500 as his agent for

service of process, and designates the District of Connecticut as the forum for the resolution of

any dispute arising out of his admission.

       7.      There are no scheduling orders currently entered in this matter. Accordingly, the

granting of this Motion will not require modification of any scheduling order entered by this

Court pursuant to Federal Rule of Civil Procedure 16(b) or the deadlines established by the

standing order on scheduling in civil cases.
            Case 3:19-cv-01732-RNC Document 8 Filed 11/13/19 Page 4 of 9




       8.      There is good cause for Attorney Weiner’s admission pro hac vice in that

Attorney Weiner has an attorney-client relationship with Ms. Behling that pre-dates this

litigation. Attorney Weiner is an experienced disability rights attorney who has represented

clients throughout the country with similar claims to Emily Behling. Accordingly, Ms. Behling

has requested that Attorney Weiner participate in her representation in this matter.

       9.      The requisite fee of $75.00 has been submitted herewith.

       WHEREFORE, based on the foregoing, the undersigned respectfully moves that Attorney

Weiner be admitted, pro hac vice.

                                             Respectfully submitted,
                                             _______/s/__________________
                                             Kevin M. O’Brien, Esquire
                                             O’Brien Law
                                             202 West Center Street
                                             Manchester, CT 06040
                                             Tel: (860) 646-3500
                                             Fax: (860) 643-6292
                                             kmobrien@obrienlawct.com
Case 3:19-cv-01732-RNC Document 8 Filed 11/13/19 Page 5 of 9




          EXHIBIT A
            Case 3:19-cv-01732-RNC Document 8 Filed 11/13/19 Page 6 of 9



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


EMILY BEHLING,

                      Plaintiff,

               V.                                             Case No. 3: 19-cv-01732

NATIONAL BOARD OF
MEDICAL EXAMINERS,

                      Defendant.




                                          AFFIDAVIT

COMMONWEALTH OF PENNSYLVANIA                         )
                                                     ) ss:
COUNTY OF BUCKS                                      )

       The undersigned, Charles Weiner, Esq. being duly sworn, hereby deposd and says:

       1.      I am over the age of eighteen and understand the obligations of an\ oath.

       2.      I make this Affidavit based on personal knowledge of the facts stated herein.

       3.      I submit this Affidavit, pursuant to Local Rule 83.l(d), in support 6f the motion

for my admission pro hac vice in the above-entitled action.

       4.      I am a principal with the Law Office of Charles Weiner, Cambria torporate

Center, 501 Cambria Avenue, Bensalem, Pennsylvania 19020. My telephone nu�ber is (267)

685-6311, and my fax number is (215) 1507. My email address is

charles@charlesweinerlaw.com.

       5.      I am a member in good standing of the Bar of the Commonwealth of

Pennsylvania, where I was admitted in 1988. My bar identification number for thJ Bar of
Case 3:19-cv-01732-RNC Document 8 Filed 11/13/19 Page 7 of 9
Case 3:19-cv-01732-RNC Document 8 Filed 11/13/19 Page 8 of 9
          Case 3:19-cv-01732-RNC Document 8 Filed 11/13/19 Page 9 of 9




                                CERTIFICATE OF SERVICE

I hereby certify that on November 13, 2019, I electronically filed the foregoing Motion For

Admission of Charles Weiner Pro Hac Vice with the Clerk of the Court using the CM/ECF

system and have further mailed the foregoing to the following:



Leslie J. Coletti, Esquire
National Board of Medical Examiners
3750 Market Street
Philadelphia, PA 19104


                                                    ______/s/____________________
                                                    Kevin M. O’Brien
